Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 1 of 15




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


    MELISSA COSSABOOM f/k/a MELISSA
    COLLINS and ANN ADAIR HATCH, on behalf                  Case No.
    of themselves and all others similarly situated,
                                                            COLLECTIVE ACTION
                           Plaintiffs,                      COMPLAINT
         -against-

    NVR, INC. and NVR MORTGAGE FINANCE,
    INC.,

                           Defendants.


                              COLLECTIVE ACTION COMPLAINT

         Plaintiffs Melissa Cossaboom f/k/a Melissa Collins (“Cossaboom”) and Ann Adair Hatch

  (“Hatch”) (collectively, “Plaintiffs”), along with other similarly situated employees who may join

  this action, by their attorneys, Shavitz Law Group, P.A. and Nichols Kaster, PLLP, upon personal

  knowledge as to themselves and upon information and belief as to other matters, allege as follows:

                                          INTRODUCTION

         1.      Plaintiffs bring this lawsuit as a collective action pursuant to the Fair Labor

  Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et seq. (“FLSA”), on behalf of themselves

  and all other persons similarly situated against NVR, Inc. and NVR Mortgage Finance, Inc.,

  (collectively “Defendants”) for violations of the FLSA.

         2.      As more fully described below, during the relevant time periods, Defendants

  willfully violated the FLSA by failing to pay loan officers, and employees in similar positions

  (collectively, “LOs”), including Plaintiffs, for all of their overtime hours worked.
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 2 of 15




                                           THE PARTIES

         Plaintiffs

         3.      Cossaboom is a resident of Apollo Beach, Florida.

         4.      Cossaboom worked for Defendants as an LO from approximately December 2017

  to August 2018 in Tampa, Florida.

         5.      At all times relevant, Cossaboom was an “employee” within the meaning of Section

  3(e) of the FLSA, 29 U.S.C. § 203(e).

         6.      Cossaboom’s written consent to join this action is attached as Exhibit A.

         7.      Hatch is a resident of Jupiter, Florida.

         8.      Hatch worked for Defendants as an LO from approximately June 2017 to August

  2019 in West Palm Beach, Florida.

         9.      At all times relevant, Hatch was an “employee” within the meaning of Section 3(e)

  of the FLSA, 29 U.S.C. § 203(e).

         10.     Hatch’s written consent to join this action is attached as Exhibit B.

         Defendants

         11.     According to its website, “NVR, Inc. operates in two business segments:

  homebuilding and mortgage banking.” http://www.nvrinc.com/ (last visited Mar. 23, 2021).

         12.     “As a corporate entity, NVR, Inc. provides various support functions for each of

  its sub-entities. These include sales and marketing support, vital human resource specialists, and

  an advanced information technology department, which provide a network of resources utilized

  by NVR, Inc. holdings.” Id.




                                                  -2-
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 3 of 15




         13.     “NVR, Inc. is one of America’s leading homebuilders. The Company serves

  homebuyers in 33 metropolitan areas in fourteen states, including, Maryland, New York, North

  Carolina, Virginia, Ohio, Indiana, Illinois, South Carolina, Pennsylvania, Tennessee, Florida,

  Delaware, West Virginia and New Jersey, as well as Washington, D.C.” Id.

         14.     NVR, Inc. is a Virginia corporation with its principal place of business at 11700

  Plaza America Dr Ste 500, Reston, VA, 20190.

         15.     NVR Mortgage Finance, Inc. shares the same corporate headquarters in Reston,

  Virginia and “operates branches in the metropolitan areas in which NVR has homebuilding

  operations. NVR Mortgage’s primary focus is to serve the needs of NVR homebuyers.” Id.

         16.     As such, Defendants jointly employ Plaintiffs and the proposed FLSA Collective

  (defined below) in each of the states in which Defendants operate.

         17.     At all times relevant, Defendants were and still are “employers” within the meaning

  of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

         18.     Upon information and belief, these Defendants operate in concert and together in

  a common enterprise and through related activities so that the actions of one may be imputed to

  the other and/or so that they operate as joint employers within the meaning of the FLSA, and are

  jointly and severally liable for the claims asserted herein.

         19.     At all times relevant, each Defendant has been an enterprise within the meaning

  of Section 3(r) of the FLSA. 29 U.S.C. § 203(r).

         20.     At all times relevant, each Defendant has been an enterprise engaged in

  commerce or the production of goods for commerce within the meaning of Section 3(s)(1) of the

  FLSA because each Defendant has had employees engaged in commerce or in the production of


                                                   -3-
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 4 of 15




  goods for commerce, or employees handling, selling, or otherwise working on goods or materials

  that have moved in or were produced for commerce by any person, 29 U.S.C. § 203(s)(1).

         21.     Each Defendant has had and has a gross volume of sales made or business done of

  not less than $500,000.00.

         22.     At all times relevant, Plaintiffs and the proposed FLSA Collective were engaged

  in commerce or in the production of goods for commerce as required by 29 U.S.C. §§ 206–207.

         23.     Defendants have issued paychecks to Plaintiffs and the proposed FLSA Collective

  during their employment.

         24.     Defendants have directed the work of Plaintiffs and the proposed FLSA

  Collective and benefited from work performed that they suffered or permitted from them.

         25.     Throughout the relevant period, Defendants employed Plaintiffs and the proposed

  FLSA Collective within the meaning of the FLSA. Defendants have substantial control over

  Plaintiffs and the proposed FLSA Collective’s working conditions and the unlawful policies and

  practices alleged herein.

         26.     Defendants directly or indirectly acted in the interest of an employer towards

  Plaintiffs and the proposed FLSA Collective at all material times, including without limitation

  directly or indirectly controlling their terms of employment.


                                  JURISDICTION AND VENUE

         27.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332,

  and 1367,and 29 U.S.C. § 201, et. seq.

         28.      This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.

  §§ 2201 and 2202.

                                                 -4-
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 5 of 15




          29.      Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. §

  1391(b)(2) because a substantial part of the events or omissions giving rise to the claims

  occurred in this District.

          30.      Defendants are subject to personal jurisdiction. Plaintiff Hatch worked for

  Defendants’ location in West Palm Beach, Florida, which is within the jurisdiction and venue

  of this Court.

                                 PROPOSED FLSA COLLECTIVE


          31.      The proposed FLSA Collective is defined as follows:

             All LOs and employees in similar positions who are or were employed by
             NVR, Inc. and/or NVR Mortgage Finance, Inc. anywhere in the United States
             at anytime three years prior to the filing of this Complaint through the present
             and beyond.

                               COMMON FACTUAL ALLEGATIONS

          32.      Plaintiffs and the proposed FLSA Collective primarily performed their work from

  inside Defendants’ locations, as well as remotely from home.

          33.      Plaintiffs and the proposed FLSA Collective sold home financing to Defendants’

  customers.

          34.      In doing so, Plaintiffs and the proposed FLSA Collective spoke with customers to

  collect information required by Defendants for a loan, collected required documents, and then

  submitted the loan paperwork to Defendants’ underwriting department for approval.

          35.      Defendants subjected Plaintiffs and the proposed FLSA Collective to performance

  metrics they required them to meet.

          36.      Upon information and belief, during the relevant three-year statutory period,


                                                  -5-
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 6 of 15




  Defendants classified Plaintiffs and the proposed FLSA Collective as non-exempt overtime

  eligible.

          37.   Defendants required Plaintiffs and the proposed FLSA Collective to work overtime

  hours (hours over 40 in a workweek), but did not pay them for all hours worked.

          38.   Defendants instructed Plaintiffs and the proposed FLSA Collective to record only

  40 hours per week on their timesheets, even when they worked more.

          39.   Defendants have instructed Plaintiffs and the proposed FLSA Collective that they

  must seek pre-approval to work overtime hours.

          40.   Defendants did not grant pre-approval freely and discouraged Plaintiffs and the

  proposed FLSA Collective from asking for pre-approval for overtime work.

          41.   Even so, Defendants subjected Plaintiffs and the proposed FLSA Collective to

  performance demands and metrics that routinely required overtime hours to meet.

          42.   This resulted in Plaintiffs and the proposed FLSA Collective regularly working off-

  the-clock overtime hours, without compensation, to timely and adequately complete their job

  duties and meet Defendants’ expectations.

          43.   Even in the limited weeks in which Defendants pre-approved recording overtime

  hours worked, the number of overtime hours Defendants approved was often inadequate to cover

  all of the overtime hours that Defendants required Plaintiffs and the proposed FLSA Collective to

  work. Thus, even during those limited weeks in which Defendants granted the recording of pre-

  approved overtime hours worked, Plaintiffs and the proposed FLSA Collective routinely worked

  additional uncompensated overtime hours.

          44.   Plaintiffs and the proposed FLSA Collective also worked through uncompensated


                                                -6-
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 7 of 15




  meal breaks to meet the demands of the job.

         45.      By way of example, during the week April 29, 2019, Plaintiff Hatch worked

  approximately 60 hours, but was not paid an overtime rate for all those hours she worked over 40.

         46.      Likewise, by way of example, during the week of April 23, 2018, Plaintiff

  Cossaboom worked approximately 60 or more hours, but was not paid an overtime rate for all those

  hours she worked over 40 that week.

         47.      Defendants are aware or should have been aware that Plaintiffs and the proposed

  FLSA Collective worked overtime hours for which they were not paid. Regardless, Defendants

  failed and continue to fail to pay them all of their overtime compensation owed.

         48.      Defendants maintain time records for Plaintiffs and the proposed FLSA Collective.

         49.      However, those time records do not accurately reflect all hours worked by

  Plaintiffs and the proposed FLSA Collective, due to Defendants’ policy and practice of suffering

  and/or permitting Plaintiffs and the proposed FLSA Collective to underreport the actual hours they

  worked, resulting in unpaid overtime.

         50.      While Defendants may have occasionally paid Plaintiffs and the proposed FLSA

  Collective for some overtime hours worked, Defendants failed to pay them for all of their overtime

  hours worked.

         51.      Upon information and belief, Defendants did not pay Plaintiffs and the proposed

  FLSA Collective for certain overtime hours worked because of, for instance, a corporate policy to

  limit expenditures and preserve profits.

                         FLSA COLLECTIVE ACTION ALLEGATIONS

         52.      Plaintiffs incorporate by reference all preceding allegations.


                                                  -7-
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 8 of 15




         53.      Plaintiffs bring this action pursuant to FLSA, 29 U.S.C. § 216(b), on behalf of

  themselves and the proposed FLSA Collective.

         54.      Defendants have intentionally, willfully, and repeatedly engaged in a pattern,

  practice, and/or policy of violating the FLSA with respect to Plaintiffs and the proposed FLSA

  Collective.

         55.      Defendants are aware or should have been aware that federal law required them to

  pay Plaintiffs and the proposed FLSA Collective overtime pay for all hours worked in excess of

  40 per workweek.

         56.      Plaintiffs and the FLSA Collective all were subject to the same employment

  policies, procedures, and practices of Defendants’ failure to pay overtime compensation for

  overtime hours worked.

         57.      Defendants failed to make an adequate inquiry into whether Plaintiffs and the FLSA

  Collective were being paid for all hours worked.

         58.      Upon information and belief, Defendants did not conduct any audit, analysis, or

  study to ensure that they compensated Plaintiffs and the FLSA Collective for all of their hours

  worked.

         59.      Defendants’ unlawful conduct has been widespread, repeated, and consistent.

                                  FIRST CAUSE OF ACTION
                                FLSA– Unpaid Overtime Wages
                (Brought on Behalf of Plaintiffs and the Proposed FLSA Collective)

         60.      Plaintiffs incorporate by reference all preceding allegations.

         61.      Defendants have engaged in a widespread pattern and practice of violating the

  FLSA, as described in this Collective Action Complaint.


                                                  -8-
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 9 of 15




            62.   Plaintiffs have consented in writing to be parties to this action, pursuant to 29

  U.S.C. § 216(b). As this case proceeds, it is likely that other individuals will file consent forms

  and join as “opt-in” plaintiffs.

            63.   At all relevant times, Plaintiffs and the FLSA Collective were engaged in commerce

  and/or the production of goods for commerce within the meaning of 29 U.S.C. §§ 206(a) and

  207(a).

            64.   The overtime wage provisions set forth in §§ 201 et seq. of the FLSA apply to

  Defendants.

            65.   Defendants are employers engaged in commerce and/or the production of goods for

  commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

            66.   At all times relevant, Plaintiffs and the FLSA Collective were employees within

  the meaning of 29 U.S.C. §§ 203(e) and 207(a).

            67.   Defendants have failed to pay Plaintiffs and the FLSA Collective all of the overtime

  wages to which they were entitled under the FLSA.

            68.   Defendants’ violations of the FLSA, as described in this Collective Action

  Complaint, have been willful and intentional.

            69.   Defendants have failed to make a good faith effort to comply with the FLSA with

  respect to their compensation of Plaintiffs and the FLSA Collective.

            70.   Because Defendants’ violations of the FLSA have been willful, a three-year statute

  of limitations applies, pursuant to 29 U.S.C. § 255.




                                                  -9-
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 10 of 15




          71.     As a result of Defendants’ willful violations of the FLSA, Plaintiff and the proposed

  FLSA Collective have suffered damages by being denied overtime wages in accordance with 29

  U.S.C. §§ 201, et seq.

          72.     As a result of the unlawful acts of Defendants, Plaintiffs and the proposed FLSA

  Collective have been deprived of overtime compensation and other wages in amounts to be

  determined at trial, and are entitled to recovery of such amounts, liquidated damages, prejudgment

  interest, attorneys’ fees, costs and other compensation pursuant to 29 U.S.C. § 216(b).

                                    DEMAND FOR TRIAL BY JURY

          Plaintiffs and the proposed FLSA Collective demand a trial by jury.

                                          PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs and the proposed FLSA Collective seek the following relief:

          A.      That, at the earliest possible time, Plaintiffs be allowed to give notice of this collective

  action, or that the Court issue such notice, to all members of the proposed FLSA Collective. Such notice

  should inform them that this civil action has been filed, the nature of the action, and of their right to join

  this lawsuit, among other things;

          B.      Unpaid overtime pay and an additional and equal amount as liquidated damages

  pursuant to the FLSA and the supporting United States Department of Labor regulations;

          C.      Pre-judgment interest and post-judgment interest as provided by law;

          D.      Appropriate equitable and injunctive relief to remedy violations, including but not

  necessarily limited to an order enjoining Defendants from continuing their unlawful practices;

          E.      Attorneys’ fees and costs of the action;

          F.      An appropriate service award for Plaintiffs’ efforts and service to the proposed


                                                     - 10 -
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 11 of 15




  FLSA Collective; and

         G.     Such other injunctive and equitable relief as this Court shall deem just and proper.

  Dated: March 31, 2021                                 Respectfully submitted,
         Boca Raton, Florida




                                                        Gregg I. Shavitz
                                                        Paolo C. Meireles
                                                        Logan A. Pardell
                                                        SHAVITZ LAW GROUP, P.A.
                                                        951 Yamato Road, Suite 285
                                                        Boca Raton, FL 33431
                                                        Telephone:     (561) 447-8888
                                                        Facsimile:     (561) 447-8831
                                                        gshavitz@shavitzlaw.com
                                                        pmeireles@shavitzlaw.com
                                                        lpardell@shavitzlaw.com

                                                        Michele R. Fisher (pro hac vice application
                                                        forthcoming)
                                                        Kayla M. Kienzle (pro hac vice application
                                                        forthcoming)
                                                        NICHOLS KASTER, PLLP
                                                        80 South 8th Street, Suite 4700
                                                        Minneapolis, MN 55402
                                                        Telephone:    (612) 256-3200
                                                        Facsimile:    (612) 338-4878
                                                        fisher@nka.com
                                                        kkienzle@nka.com

                                                        Attorneys for Plaintiffs and the Proposed
                                                        FLSA Collective




                                               - 11 -
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 12 of 15




                        Exhibit A
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 13 of 15




                                    CONSENT TO JOIN FORM

          1.      I consent to be a party plaintiff in a lawsuit against Defendant(s), NVR, Inc.
  and/or related entities and individuals in order to seek redress for violations of the Fair Labor
  Standards Act, pursuant to 29 U.S.C. § 216(b).

          2.     I hereby designate the Shavitz Law Group, P.A. to represent me in bringing such
  claim, and to make decisions on my behalf concerning the litigation and settlement. I agree to be
  bound by any adjudication of this action by the Court, whether it is favorable or unfavorable.

         3.       I also consent to join any other related action against Defendant(s) or other
  potentially responsible parties to assert my claim and for this Consent Form to be filed in any
  such action.



  Signature

   Melissa N. Cossaboom

  Print Name
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 14 of 15




                        Exhibit B
Case 9:21-cv-80627-AMC Document 1 Entered on FLSD Docket 03/31/2021 Page 15 of 15




                                    CONSENT TO JOIN FORM

          1.      I consent to be a party plaintiff in a lawsuit against Defendant(s), NVR, Inc.
  and/or related entities and individuals in order to seek redress for violations of the Fair Labor
  Standards Act, pursuant to 29 U.S.C. § 216(b).

          2.     I hereby designate the Shavitz Law Group, P.A. to represent me in bringing such
  claim, and to make decisions on my behalf concerning the litigation and settlement. I agree to be
  bound by any adjudication of this action by the Court, whether it is favorable or unfavorable.

         3.       I also consent to join any other related action against Defendant(s) or other
  potentially responsible parties to assert my claim and for this Consent Form to be filed in any
  such action.



  Signature

   Ann Hatch

  Print Name
